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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                  CASE NO. 3:00cr12LAC

WAYNE SANDER

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on JUNE 12, 2008
Motion/Pleadings: MOTION FOR REDUCTION OF SENTENCE PURSUANT TO TITLE 18
U.S.C. § 3582(c)(2)
Filed by DEFENDANT PRO SE            on 6/4/08     Doc.# 394

RESPONSES:
                                               on                        Doc.#
                                               on                        Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the    foregoing,       it    is     ORDERED      this   8 th   day   of
August, 2008, that:
(a) The relief requested is DENIED.
(b) At sentencing, the defendant was held accountable for 87.2 kilograms of
cocaine base which resulted in a base offense level of 38. Pursuant to Amendment
706 to the Sentencing Guidelines, the Drug Quantity Table at §2D1.1 assigns a
base offense level of 38 for 4.5 kilograms or more of cocaine base. Since the
defendant’s base offense level is unchanged, he is not eligible for any reduction
in his sentence of imprisonment pursuant to Amendment 706.


                                                                  s /L.A. Collier
                                                              LACEY A. COLLIER
Entered On Docket:                    By:           Senior United States District Judge
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
